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7
     Attorney for Plaintiffs,
8    NICOLE STAN, ETHAN STAN, AND MANDICA GORGOI
9
               UNITED STATES DISTRICT COURT OF CALIFORNIA
10
                           FOR THE CENTRAL DISTRICT
11
12
     NICOLE STAN, on behalf of herself       ) Case No.: 2:20-cv-07374
13   and ETHAN STAN, a minor, and            )
     MANDICA GORGOI,                         ) COMPLAINT FOR:
14                                           )
                  Plaintiffs,                )    1. NEGLIGENCE
15                                           )    2. VICARIOUS LIABILITY
                                             )    3. COMMON CARRIER
16          v.                               )       LIABILITY
                                             )
                                             )
17   PRINCESS CRUISE LINES LTD.,             ) [Jury Trial Demanded]
18   d/b/a Princess Cruises, and DOES 1-10, ))
     inclusive, and each of them,            )
19                                           )
                  Defendants.                )
20                                           )
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1           Plaintiffs, Nicole Stan, on behalf of herself and her minor child Ethan Stan, and
2    Mandica Gorgoi, allege the following on information and belief:
3                                             PARTIES
4           1.     Nicole Stan is an individual who, at all relevant times during the events
5    alleged herein, resided in Los Angeles County, California.
6           2.     Mandica Gorgoi is an individual who, at all relevant times during the events
7    alleged herein, resided in Los Angeles County, California.
8           3.     Ethan Stan is a minor, and the son of co-plaintiff Nicole Stan. Nicole Sand
9    is suing on behalf of herself and Ethan Stan. At all relevant times during the events
10   alleged herein Ethan Stan also resided in Los Angeles County, California.
11          4.     Princess Cruise Lines Ltd. is a corporation doing business in California as a
12   cruise line operator. It has a principal place of business in Santa Clarita, California.
13                                     DOE DEFENDANTS
14          5.     The true names and capacities, whether corporate, associate, individual or
15   otherwise of DOES 1 - 10, inclusive, and each of them, are unknown to Plaintiffs who
16   are therefore suing said defendants by such fictitious names. Each of the defendants
17   designated herein as DOE is legally responsible in some manner for the events and
18   happenings herein alleged, and caused injuries and damages proximately thereby to
19   Plaintiffs. Plaintiffs will seek leave of court to amend this Complaint to include the true
20   names and capacities of each DOE defendant when it has been ascertained. At all times
21   mentioned in this Complaint, unless otherwise alleged, each defendant, including the
22   DOE defendants acted as the agent, partner, or employee of every other defendant,
23   including the named Defendant(s), and in doing the acts alleged in this Complaint, acted
24   within the course, scope, and authority of that agency, partnership, or employment, and
25   with the knowledge and consent of each of the other defendants, including the named
26   Defendant(s).
27                               JURISDICTION AND VENUE
28          6.     Jurisdiction and Venue: (a) Jurisdiction is proper under Article III, Section

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1    2 of the United States Constitution which grants original jurisdiction to U.S. federal
2    courts over admiralty and maritime matters and under 28 U.S.C. § 1331 which grants the
3    district courts original jurisdiction of all civil actions arising under the Constitution, laws,
4    or treaties of the United States; (b) venue is proper under 28 U.S. Code § 1391 because
5    Defendant Princess Cruises Ltd. operates/resides in Los Angeles County, contracted
6    with Plaintiffs in Los Angeles County, and Los Angeles County is within the State of
7    California.
8                                  GENERAL ALLEGATIONS
9           7.     On or about August 21, 2018, at approximately 5:00 p.m., Plaintiffs were
10   passengers in a Princess-Cruise-sponsored tour bus. The bus was travelling downhill on
11   a curved road when it collided with another vehicle traveling up the same road, at a high
12   rate of speed.
13          8.     The collision caused extensive damage to the front and right side of the bus
14   and the resulting impact caused significant injuries to Plaintiffs. Specifically, Nicole Stan
15   sustained injuries to her neck, cervical spine, and thoracic spine. Mandica Gorgoi
16   sustained injuries to her cervical spine, neck, and left leg. Ethan Stan sustained injuries to
17   his face and nose, which will likely require reconstructive surgery as he gets older.
18          9.     The bus driver, who was an agent/employee of Princess Cruise Lines Ltd.,
19   and DOES 1 – 10, inclusive, and each of them, had a duty to pay close attention to
20   traffic conditions when operating the bus. Had the bus driver been paying more
21   attention to the road, the oncoming vehicles on the road, and her rate of speed, she
22   could have avoided the collision altogether, or at a minimum, she could have mitigated
23   the injuries sustained by Plaintiffs. However, the bus driver failed to properly comply
24   with her duty and, therefore, acted negligently.
25          10.    As a result, Plaintiffs have been harmed and have filed this lawsuit seeking
26   damages against Defendant Princess Cruise Lines Ltd. and DOES 1 – 10, inclusive, and
27   each of them for that harm.
28          ///

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1                                  FIRST CAUSE OF ACTION
2                                              Negligence
3      (Against Defendant Princess Cruises Ltd. and DOES 1-10, inclusive, and each of
4                                                 them)
5           11.     Plaintiffs incorporate by reference the allegations above as if set forth in
6    full herein.
7           12.     All motor vehicle operators have a duty to use, at a minimum, the
8    ordinary care and skill of a reasonably prudent driver when operating a vehicle.
9           13.     The bus driver was an agent/employee of Defendant Princess Cruise Lines
10   Ltd. and DOES 1 – 10, inclusive, and each of them. Defendant Princess Cruise Lines
11   Ltd. and DOES 1 – 10, inclusive, and each of them, by and through the bus driver,
12   therefore breached this duty by, among other things, failing to pay attention to the road,
13   the oncoming vehicles on the road, and the speed of the bus. This negligence caused
14   Plaintiffs to sustain bodily injury.
15          14.     As such, Plaintiffs are seeking compensation for the injury and damage
16   they have sustained. The exact amount of Plaintiffs’ damages is unknown at this
17   time, but will be proven at trial.
18                               SECOND CAUSE OF ACTION
19                                          Vicarious Liability
20    (Against Defendant Princess Cruises Ltd. and DOES 1 - 10, inclusive, and each of
21                                                them)
22          15.     Plaintiffs incorporate by reference the allegations above as if set forth in
23   full herein.
24          16.     Plaintiffs are informed and believe that Defendant Princess Cruises Ltd.
25   and DOES 1 – 10, inclusive, and each of them, promoted the bus tour on their
26   website and offered individuals, like Plaintiffs, the option of booking and paying for
27   the tours online.
28          17.     Defendant Princess Cruise Lines Ltd. and DOES 1 – 10, inclusive, and

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1    each of them, are therefore joint-venturers and/or have a principal/agent
2    relationship. As such, Defendant Princess Cruise Lines Ltd. and DOES 1 – 10,
3    inclusive, and each of them, are vicariously liable for the negligence of one another
4    including the bus driver and operator(s). As such, they are each jointly responsible
5    for the injuries and damage sustained by Plaintiffs.
6           18.     Plaintiffs are, therefore, seeking compensation for the injuries and
7    damages they sustained against Defendant Princess Cruise Lines Ltd. and DOES 1 –
8    10, inclusive, and each of them, jointly and severally.
9                                  THIRD CAUSE OF ACTION
10                                         Common Carrier
11    (Against Defendant Princess Cruises Ltd. and DOES 1 - 10, inclusive, and each of
12                                               them)
13          19.     Plaintiffs incorporate by reference the allegations above as if set forth in
14   full herein.
15          20.     Common carriers must carry passengers safely.
16          21.     Common carriers must use the highest degree of vigilance when transporting
17   passengers. They must do all that human care, vigilance, and foresight reasonable under
18   the circumstances to avoid harm to passengers.
19          22.     Defendant Princess Cruises Ltd. and DOES 1 - 10, inclusive, and each
20   of them, are common carriers. However, as alleged above, they failed to exercise a
21   higher degree of care when transporting Plaintiffs and the other passengers.
22          23.     As a result of Defendants’ failure to apply this higher standard of care,
23   Plaintiffs sustained injuries for which they are now seeking compensation. The exact
24   amount of Plaintiffs’ damages is unknown at this time but will be proven at trial.
25                                    PRAYER FOR RELIEF
26          WHEREFORE, Plaintiffs Nicole Stan, Mandica Gorgoi, and Ethan Stan pray for
27   relief as follows:
28          1.      For general damages against all Defendants, including DOES 1 – 10,

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1               according to proof;
2         2.    For special damages against all Defendants, including DOES 1 – 10,
3               according to proof;
4         3.    That judgment is entered in favor of Plaintiffs; and
5         4.    For such other and further relief as the Court may deem just and proper.
6
7                                                           D&A LAW GROUP
8
9    Dated: _________
            08/14/2020                                  By:____________________
                                                           Aren Derbarseghian
10                                                         Attorney for Plaintiffs,
11                                                         Nicole Stan, Mandica Gorgoi,
                                                           and Ethan Stan
12
13
                              DEMAND FOR JURY TRIAL
14
15        Plaintiffs, Nicole Stan, Mandica Gorgoi, and Ethan Stan demand a jury trial.
16
17                                                          D&A LAW GROUP
18
            08/14/2020
     Dated: _________                                   By:____________________
19
                                                           Aren Derbarseghian
20                                                         Attorney for Plaintiffs,
21                                                         Nicole Stan, Mandica Gorgoi,
                                                           and Ethan Stan
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